     Case 2:20-cr-00045-GAM Document 325 Filed 07/15/22 Page 1 of 10




                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA            No. 2:20-CR-00045-GAM

     v.
                                    Honorable: Gerald Austin McHugh
ABDUR RAHIM ISLAM
SHAHIED DAWAN
KENYATTA JOHNSON
DAWN CHAVOUS



                DEFENDANT DAWN CHAVOUS’S RESPONSE
          TO THE GOVERNMENT’S RENEWED MOTION TO UNSEAL




                                       Barry Gross
                                       Elizabeth M. Casey
                                       FAEGRE DRINKER
                                       BIDDLE & REATH LLP
                                       One Logan Square, Ste. 2000
                                       Philadelphia, PA 19103-6996
                                       Telephone: (215) 988-2700
                                       Facsimile: (215) 988-2757


                                       Attorneys for Defendant Dawn Chavous
        Case 2:20-cr-00045-GAM Document 325 Filed 07/15/22 Page 2 of 10




        Dawn Chavous, by and through her undersigned counsel, hereby responds in opposition

to the Government’s Renewed Motion to Unseal (ECF No. 317) and respectfully requests that the

Court enter an Order denying the Government’s Motion. 1

                                PRELIMINARY STATEMENT

       Despite the Government’s insistence that Ms. Chavous and her husband, Councilmember

Johnson, seek to litigate the charges against them in secret, Ms. Chavous has no objection to the

unsealing of most of the 48 filings cited in the Government’s latest submission or any of the four

letters referenced therein—a fact counsel would have conveyed to the Government had it so

inquired. What should not be unsealed, however, are filings related to Ms. Chavous’s Motion to

Exclude Testimony Regarding a Document Production Issue, as (i) the facts underlying that

motion were not discussed during the first trial, (ii) the Government represented that it did not

intend to introduce evidence on the issue, which is why the motion was denied as moot, and (iii)

this evidence is irrelevant and highly prejudicial, such that unsealing the motion would jeopardize

Ms. Chavous’s right to a fair and impartial trial. Those considerations were true when the Court

sealed the motion in advance of the first trial; they remain true today. For that reason, Ms. Chavous

respectfully requests that the Court deny the Government’s renewed request, as applied to any

filings relating to the document production motion, specifically Ms. Chavous’s Motion to Exclude

Testimony Regarding a Document Production Issue and the Government’s Response to Ms.

Chavous’s Motion to Exclude Testimony Regarding a Document Production Issue. Moreover,

Ms. Chavous submits that the Government has not met its burden to keep its Motion to Restrict

the Scope of Cross-Examination under seal.




1Councilmember Johnson writes separately in response to the portion of the Government’s
Renewed Motion that relates to his filings.
                                                 1
        Case 2:20-cr-00045-GAM Document 325 Filed 07/15/22 Page 3 of 10




                                       BACKGROUND

       On January 28, 2020, the Government filed a twenty-two count racketeering Indictment

against Defendants Abdur Rahim Islam, Shahied Dawan, Councilmember Kenyatta Johnson, and

Dawn Chavous. ECF No. 1. The Indictment alleges, inter alia, that Mr. Islam and Mr. Dawan

committed various racketeering offenses through and against Universal Companies. Only two of

the counts in the Indictment pertain to Ms. Chavous and her husband, Councilmember Johnson;

those are Counts 9 and 10, which charge all four Defendants with honest services wire fire under

18 U.S.C. §§ 1343 and 1346.

       On January 4, 2022, Ms. Chavous filed three motions in limine: one to exclude evidence

regarding her financial status, which was granted in part and denied in part; another to preclude

the Government from introducing evidence that Ms. Chavous deleted e-mails from her personal

account, which was denied; and a third to prohibit the Government from introducing evidence

regarding a document production issue, which was denied as moot after the Government

represented that it did not intend to introduce such evidence at trial. See ECF Nos. 117, 118, 119.

Ms. Chavous also moved to seal each motion; each such motion was granted. See ECF Nos.120,

121, 122. That same day, the Court granted Councilmember Johnson’s motion to seal one of his

respective motions in limine, ECF No. 140, and granted a similar motion to seal one of the

Government’s motions, ECF Nos. 136, 137.

       A flurry of sealing and unsealing motions followed, as well as responses and replies

thereto. On February 18, 2022, the Court issued an Order resolving nearly all the parties’ pretrial

motions, including the sealed motions in limine and the motions to seal and unseal the sealed

motions. ECF No. 200. In that Order, the Court granted “all pending motions to seal” and denied




                                                2
        Case 2:20-cr-00045-GAM Document 325 Filed 07/15/22 Page 4 of 10




all motions to unseal, “with the expectation that all entries on the docket except for privileged

personal identifiers, will be unsealed at the conclusion of trial.” Id. at 4.

       On March 21, 2022, Counts 9 and 10 were tried to a jury before this Court. During trial

(and at pretrial proceedings), the facts underlying two of Ms. Chavous’s sealed motions—her

motion to exclude information about her finances and her motion to exclude evidence concerning

deleted e-mails—were discussed in open court. Consistent with the Government’s representations

at the pretrial hearing, however, no evidence was presented regarding the document production

issue. Thus, the facts underlying that motion have not been discussed on the record. After

approximately five weeks, the jury could not reach a unanimous decision on any of the charged

counts for any of the defendants and this Court declared a mistrial. The Government has decided

to retry all four defendants and trial is slated to begin on September 28, 2022.

       In its latest motion, the Government seeks to unseal all filings related to Defendants’—and

only Defendants’—sealed pretrial motions, asserting that Ms. Chavous and Councilmember

Johnson failed to overcome the presumption of public access that attached to the approximately

48 court filings. ECF No. 317. It also requests that the Court docket four letters sent to Chambers

before and during trial via electronic mail.

                                           ARGUMENT

  I.   Filings Related to Ms. Chavous’s Motion to Exclude Testimony Regarding a
       Document Production Issue Should Remain Under Seal.

       Ms. Chavous does not dispute that federal courts have repeatedly recognized what is

referred to as the common law right of access—i.e., the general right of the public to inspect public

records and documents, including those filed by a criminal defendant. See, e.g., United States v.

Thomas, 905 F.3d 276, 282 (3d Cir. 2018). But it is likewise indisputable that “the right to inspect

or copy judicial records is not absolute.” Nixon v. Warner Commc’ns, 435 U.S. 589, 598 (1978).


                                                  3
        Case 2:20-cr-00045-GAM Document 325 Filed 07/15/22 Page 5 of 10




Rather, the presumption of public access to records may be rebutted where “the interest in secrecy

outweighs the presumption.” In re Avandia Mktg., Sales Practices & Prods. Liab. Litig., 924 F.3d

662, 672 (3d. Cir. 2019) (quotation marks and citations). Where the material that is sought to be

disclosed “is the kind of information that courts will protect” and “disclosure will work a clearly

defined and serious injury to the party seeking closure,” the presumption is rebutted. Id. To that

point, “[e]very court has supervisory power over its own records and files, and access has been

denied where court files might have become a vehicle for improper purposes.” Id.; see also Fed.

R. Crim. P. 49.1 (“The court may order that a filing be made under seal without redaction.”).

“[T]he decision as to access is one best left to the sound discretion of the trial court, a discretion

to be exercised in light of the relevant facts and circumstances of the particular case.” See Nixon,

435 U.S. at 599 (citations omitted).

       Here, the Government seeks in advance of re-trial to unseal 48 sealed dockets entries and

to publicly docket four letters emailed to the Court from counsel. Ms. Chavous has no objection

to the Government’s request to unseal filings related to her motion regarding her finances or the

motion concerning her deleted emails. Indeed, the Government presented evidence about those

issues during the first trial, so any request to keep those filings under seal would make little sense.

Nor does Ms. Chavous object to docketing the letters referenced in the Government’s latest filing.

What should not be unsealed, however, are the filings related to Ms. Chavous’s document

production motion in limine, specifically the motion itself and the Government’s response to it.

The Court properly sealed that motion and the Government’s response in advance of the first trial,

as the highly prejudicial nature of the evidence and the high-profile nature of this proceeding

outweighed the presumption of access to the filings.




                                                  4
         Case 2:20-cr-00045-GAM Document 325 Filed 07/15/22 Page 6 of 10




         As discussed at length in Ms. Chavous’s motion in limine and response to the

Government’s initial motion to unseal it, which are incorporated here by reference, the evidence

regarding the document production issue is irrelevant and highly prejudicial. Perhaps recognizing

as much, the Government represented at the pretrial hearing that it did not intend to introduce such

evidence at trial and the motion was denied as moot. No legitimate reason exists for unsealing the

motion now, especially given that Ms. Chavous only filed the motion in the first place because the

Government repeatedly refused to confirm before the first trial whether it planned to raise the

issue.

         Critically, Ms. Chavous does not seek to keep sealed information that the Court ultimately

deems relevant and admissible. She only asks that—given the highly publicized nature of this

proceeding and potential contamination of the jury pool—any irrelevant evidence that has no

bearing on this trial remain sealed. The Court appeared to agree with that logic and kept the

document production motion and related filings sealed during the first trial.          Though the

Government frames its request as a natural consequence of the Court’s February 18, 2022 Order,

which denied all motions to unseal, “with the expectation that all entries on the docket except for

privileged personal identifiers, will be unsealed at the conclusion of trial”, that Order was issued

with the expectation that the jury would reach a verdict and unsealing the entries after trial would

not prejudice Defendants. Of course, that’s not what occurred, and Defendants face a re-trial in

the fall. The same considerations that moved the Court to seal certain filings in the first place

therefore still exist.

         Finally, the Government contends that Ms. Chavous and Councilmember Johnson’s

concerns about prejudicing the jury pool are mere pretext (and perhaps even sanctionable) because,

after the first trial, defense counsel gave their view of the evidence and broadly stated that their



                                                 5
            Case 2:20-cr-00045-GAM Document 325 Filed 07/15/22 Page 7 of 10




clients are innocent. That contention is off base. There is a world of difference between a criminal

defendant making broad, generalized statements about their innocence and view of the evidence,

on the one hand, and the prosecution injecting irrelevant and highly prejudicial information into

the public sphere, especially given that the Government doesn’t even intend to use the information

at trial.

            Accordingly, the Document Production Motion and the Government’s Response in

Opposition to the Motion were properly filed under seal and should remain that way.

 II.        The Government Has Not Met Its Burden to Seal the Motion to Restrict the Scope of
            Cross-Examination.

            The Government likewise filed a motion in limine under seal—one to restrict the scope of

cross-examination of a Government witness. See ECF Nos. 136, 137. The Government’s motion

to “impound”—which itself was filed under seal—cited no rule or other authority but instead

asserted that the Government’s motion in limine should be kept from the public merely because

“no public interest would be served” by its disclosure. See ECF No. 137. In its latest submission,

the Government contends—for the first time—that it has met its burden to keep the motion in

limine sealed “because the evidence in question concerns a witness’s employee personnel records.”

ECF No. 317 at 16.

            The Government is right on the law: courts generally seal or protect from disclosure

confidential information contained in personnel files where that disclosure would violate an

employee’s privacy or jeopardize his safety. In Rosenblit v. City of Philadelphia, for example,

Judge Marston explained that the disclosure of an employee’s full personnel file was improper

given the confidential nature of the information and the fact that the file contained every major

employment decision in the employee’s 23-year career, including confidential statements and

complaints from third parties. No. 20-cv-3121, 2021 WL 288887, at *6 (E.D. Pa. Jan. 28, 2021).


                                                   6
        Case 2:20-cr-00045-GAM Document 325 Filed 07/15/22 Page 8 of 10




Though litigants certainly have an interest in discovering and accessing relevant information, that

interest, Judge Marston observed, does not trump an employee’s right to keep confidential

information confidential. Id. (citing McKenna v. City of Philadelphia, No. 98-cv-5835, 2000 WL

1521604, *2 (E.D. Pa. Sept. 29, 2000) (“The interests of the [p]laintiffs with regard to” personnel

files, records from the City's Internal Affairs Division, disciplinary records for the parties, and

complaints with the Equal Employment Opportunity Commission, “cannot overcome the privacy

and safety interests that the [d]efendants and the public have in their confidentiality.”)

       Ms. Chavous does not dispute that the confidential information in the witness’s personnel

file should remain confidential. But the misconduct implicating the witness’s credibility at the

heart of the Government’s motion is anything but confidential. To the contrary, as detailed in Ms.

Chavous’s sealed motion to unseal the Government’s motion in limine, this witness already

publicly testified about the misconduct under oath during a previous trial; the testimony is the

subject of a number of public filings from that previous matter; and the misconduct was widely

reported in the press.2 The Government’s cases, then, which all address protection of confidential

employee records, have no applicability here.

       For these reasons, as well as those Ms. Chavous submitted in her motion to unseal the

Government’s motion in limine, the Government has not carried its burden to keep its motion (ECF

No. 136) sealed.




2 It warrants mention that the Government repeatedly argues in its Renewed Motion that Ms.
Chavous and her husband, Councilmember Johnson, should not be permitted to keep information
sealed that has already been made public, either in the first trial or by the press. See, e.g., ECF No.
137 at 12 (“The public, therefore, already knows hat Johnson accepted the Eagles tickets and failed
to disclose them, so Johnson’s efforts to cover up those facts are moot.”); id. at 12 n.7 (“[T]he
defendants should make those arguments in public, especially since their conduct was already
reported on the front page of the second section of the Philadelphia Inquirer.”).
                                                  7
       Case 2:20-cr-00045-GAM Document 325 Filed 07/15/22 Page 9 of 10




                                    CONCLUSION

      For the foregoing reasons, Ms. Chavous respectfully requests that this Court deny the

Government’s Renewed Motion to Unseal.

                                                Respectfully submitted,

      Dated: July 15, 2022                      /s/ Barry Gross
                                                Barry Gross
                                                Elizabeth M. Casey
                                                FAEGRE DRINKER
                                                BIDDLE & REATH LLP
                                                One Logan Square, Ste. 2000
                                                Philadelphia, PA 19103-6996
                                                Telephone: (215) 988-2700
                                                Facsimile: (215) 988-2757


                                                Attorneys for Defendant Dawn Chavous




                                            8
       Case 2:20-cr-00045-GAM Document 325 Filed 07/15/22 Page 10 of 10




                                CERTIFICATE OF SERVICE

       I, Barry Gross, hereby certify that on this day I caused a true and correct copy of the

foregoing to be filed electronically with the Case Management/Electronic Case Filing System

(“CM/ECF”) for the Federal Judiciary. Notice of this filing will be sent to all parties by operation

of the Notice of Electronic Filing system, and the parties to this action may access this filing

through CM/ECF.

       Dated: July 15, 2022                          /s/ Barry Gross
                                                     Barry Gross
                                                     Elizabeth M. Casey
                                                     FAEGRE DRINKER
                                                     BIDDLE & REATH LLP
                                                     One Logan Square, Ste. 2000
                                                     Philadelphia, PA 19103-6996
                                                     Telephone: (215) 988-2700
                                                     Facsimile: (215) 988-2757



                                                     Attorneys for Defendant Dawn Chavous
